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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


UNITED STATES OF AMERICA

v.                                                            Criminal Case No. 4:24CR003-4

RANDLE SHANE BOHREN
    Defendant.
                                                  ORDER

         This matter comes before the Court on its own initiative. In accord with the Due Process

Protections Act and Rule 5(f) of the Federal Rules of Criminal Procedure, this Court CONFIRMS the

United States’ obligation to disclose to the defendant all exculpatory evidence, that is, evidence that

favors the defendant or casts doubt on the United States’ case, as required by Brady v. Maryland, 373

U.S. 83 (1963) and its progeny, and hereby ORDERS the United States to do so. Failure to disclose

exculpatory evidence in a timely manner may result in serious consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,

disciplinary action, or sanctions by the Court.

         The judge presiding over the first scheduled court date when both prosecutor and defense counsel

are present shall give oral notice of the provisions in this Order. The presiding judge, pursuant to the

Due Process Protections Act, shall also enter a written order in compliance with this Order.

         Having given counsel the oral admonition required by the Due Process Protections Act, this

Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule 5(f) and the

Eastern District of Virginia Standing Order concerning the same.

         It is SO ORDERED.


                                                                           /s/
                                                             Mark R. Colombell
                                                             United States Magistrate Judge
Date: February 15, 2024
Richmond, Virginia
